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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA


James Irving Dale,                            Civil File No.: 0:18-cv-00886 (DWF/DTS)

                   Plaintiff,
                                                  DEFENDANT ANAGRAM
         vs.                                        INTERNATIONAL’S
                                               MEET AND CONFER STATEMENT
Tom Roy, et al.,

                   Defendants.


         I, Gregory S. Otsuka, counsel for Defendant Anagram International (“Anagram”)

in this matter, do hereby certify that I spoke with Plaintiff James Irving Dale on August

15, 2018 regarding Anagram’s Motion to Dismiss, but was unable to resolve the issues

presented in the motion. To date, the parties have not agreed on a resolution of any part

of the motion.

Dated: August 17, 2018                          HELLMUTH & JOHNSON


                                                By: s/ Gregory S. Otsuka
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